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Roy Lee Pierce __ 9
302 E. Sherman Drive pytz: *
Carson, Ca. 90746 y 0r' 23 ce
(310) 508-7539 ® ae
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ROY LEE PIERCE, = 4mm (
Plaintiff, C¥le 9254 MMM ( mh

COMPLAINT FOR DAMAGES

y. RESULTING FROM HARASSMENT;
DSR TT ACTION OF

VALMONT INDUSTRIES, INC., EMOTIONAL DISTRESS.

Defendant
JURISDICTION AND VENUE

1. Plaintiff invokes this Court’s jurisdiction under 28 USC § 1332. The matter in
controversy exceeds $75,000.00 and the parties are citizens of different States.
The unlawful practices complained of herein occurred in Los Angeles County, State

of California.

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PARTIES
2 Defendant Valmont Industries, Inc., is corporation organized and existing under
the laws of the State of Delaware with its primary place of business in Omaha,
Nebraska and is subject to suit under the California Fair Employment and Housing
Act, Government Code § 12900 et. seq. (FEHA), in that Defendant regularly employs

five or more persons.

3. Plaintiff ROY LEE PIERCE is an adult person of African American descent and
is A resident of the County of Los Angeles, State of California.

4. For the putpose of the claims brought this suit under the FEHA, Plaintiff is
considered an employee of the Defendant pursuant to 2 Cal. C. Regs § 7286.5(b).

STATEMENT OF FACTS
5. On Friday November, 18, 2011, Select Staffing sent Plaintiff to work the second
shift (2:30pm-10:30pm) as a temp at Defendant’s Calwest Galvanizing, 2226 E.
Dominguez St., Carson Ca. 90810. Select Staffing told Plaintiff the Calwest

Assignment would be long term.

6. On Friday November 18, 2011, upon arrival at Calwest for the second shift,
Plaintiff observed that all the Calwest employees and temps were of Non- Black

Hispanic descent, with the exceptions of one African American temp.

7. On Friday November 18, 2011, Plaintiff and two other new temps sent by Select
Staffing, both of whom were of Non- Black Hispanic descent, met with the
Supervisor duty for instruction. During the course of that meeting in the Supervisor's
office, as Martin talked he continually stared at Plaintiff with an angry gaze. At the

conclusion of the meeting , Martin told Plaintiff and the two other new temps to work

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on the “make-up-side” of the factory.

8, During the course the shift on November 18, 2011, on several occasions, Plaintiff

noticed Martin standing nearby leering at Plaintiff with hostile facial expressions.

9. Later on that night, November 18, 2011, Martin walked up to Plaintiff and the two
other new temps and spoke to them in Spanish without addressing Plaintiff. Martin
then took the other two temps to the “clean-up-side” to work, thereby leaving

Plaintiff to work alone on the “make-up-side”.

10. At the end of the night on November 18, 2011, Martin walked over to the
“make-up-side” and thanked Plaintiff for his work. Martin then told Plaintiffto
contact Select Staffing for Plaintiff's next assignment. Martin stated, “T only
needed you tonight for a special project”. Plaintiff then asked Martin whether
the two other new temps would be returning on Monday. In response to Plaintiff's
question, Martin looked visibly angered. Martin then said “who the fuck are u to
question me about staffing decisions”. Plaintiff said “what” attempting to respond,
but Martin to Plaintiff “you need to leave”. As Plaintiff walked away, Plaintiff
heard Martin call Plaintiff a “Mayate”.

11. “Mayate” is derogatory term used by Non-Black Hispanic to refer to African

Americans. It is the thing as calling an African American a’Nigger”

12. On November 18, 2011, Plaintiff then walked outside to the parking lot where
Plaintiff saw the other two new temps . Plaintiff asked the two other two new temps
whether they were returning on Monday. They said yes. After a few minutes Plaintiff
got into Plaintiff's car and started driving towards the parking lot exit. When Plaintiff
reached the parking lot exit, Plaintiff saw Martin standing with Bobby. Plaintiff got

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out the car and asked Martin why the two other new temps would be returning and
Plaintiff would not be returning. Martin said that, “1 only needed you one night for a
special assignment”. Regarding the two other new temps, Martin said “they are

coming back Monday because I am going to need them one more day.” In response to
face.

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5 | Martin’s statements, Plaintiff saw an expression of disbelief and shock on Bobby's
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g | 13. On the morning of Monday November 21, 2011, Plaintiff spoke to Select

9 | Staffing. Select Staffing reassigned Plaintiff back to Calwest.

10
11 | 14. On Monday November 21, 2011, Plaintiff and the two other new temps returned
12 | to Calwest and met with Geraldo. Geraldo was the regular Supervisor for the second
13 | shift. Geraldo told Plaintiff and the two other new temps to work on the “clean-up-

14 | side”. The “Leadman” on the “clean-up-side” was a Calwest employee named

15 | Alba.

i6 | 15. On November 21, 2011, after Plaintiff began working on the “clean-up-side”,

17 | Alba displayed instant hostility towards Plaintiff. Alba told Plaintiff “Martin couldn’t
18 | seem to get rid of you but, | am going to make sure you don’t want to stay.” After a
19 | few days Alba began calling Plaintiff “boy” instead of “Roy”. And on several

20 | occasions Alba berated Plaintiff in front of other temps. Alba would tell ali the

21 | temps to gather at a specific area for instruction on proper technic. Alba would then
22 | start yelling and screaming with his visual focus directed at Plaintiff. Afier the

23 | meetings Alba would approach the Plaintiff and say “[d]id you get it stupid?”

24
25 | 16. On or about January 2012, Calwest added a third shift and Martin was assigned
46 | as the Supervisor. The make- up of the third shift consisted of about twelve temps.
27 | Of those twelve temps, about five of them were African American and remainder

28 | were Non-Biack Hispanic. After about the first week, Martin had got rid of all the
4.

Case 2:12-cv-09254-MMM-MAN Document 1 Filed 10/29/12 Page 6of16 Page ID #:6

African Americans, with the exception of one persons.

17. On or about February 24, 2012, Plaintiff was working at Defendant’s

Calwest Galvanizing removing steel grates from a pile of them and stacking

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5 | them on pallets. Plaintiff and Marcus Smith stood on the pile of grates and lifted

6 | agrate. As Plaintiff and Marcus Smith attempted to remove the grate, the pile shifted
7 | and Marcus Smith dropped the end of the grate he was holding . After Marcus Smith
8 | dropped his end, Plaintiff was unable to hold the end of the grate Plaintiff held and

9 | the approximately 75lbs grate slid down the front of Plaintiff's legs. Plaintiff could
10 | feel the grate tearing through the skin of Plaintiff’s lower left leg as the grate slid

11. | down. The grate finally landed on Plaintiff's feet and Plaintiff fell to the ground in

12 | pain.

14 | 18. On or about February 24, 2012, Geraldo had been standing nearby when the

15 | the grate slid down Plaintiff’s legs. Plaintiff told Plaintiff to come to the office.

16 | Plaintiff limped to the office, sat down, and pulled up Plaintiff's left pant leg.

17 | Plaintiff's lower left leg was oozing blood and the skin was torn. Geraldo looked

18 | atthe injury and said, “{I]t’s just a scrap, we don’t need to send you out for medical.”
19 | Plaintiff told Geraldo that his leg hurt and wanted to see a doctor, Geraldo responded,
20 | “that’s going to take a lot of paper work and I cannot have people here who want to
21 | see a doctor for a little scrape.” Geraldo then reached for the first aid kit and began

22 | treating and bandaging Plaintiff's left leg.

24 | 19. Onor about February 24, 2012, after Geraldo treated Plaintiff's left ankle and
95 | foot, Plaintiff returned to work. As Plaintiff continued to work, Plaintiff's left ankle

26 | and foot began to swell. Plaintiff was in extreme pain.

28 | 20. Onor about March 2012, Alba lowered a crane and instructed Plaintiff to cut

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down the objects hanging from it. Plaintiff stood under the crane and began
cutting down the objects. Aiba moved the crane about 20 seconds later without
warning and struck Plaintiff in the head. Plaintiff was furious. Alba told Plaintiff

that “[y]ou were moving to slow, I had to get your attention.”
41. Onor about March 23, 2012, Geraldo laid Plaintiff off.
22. Starting on or about April 2012, Plaintiff went to over thirty therapy sessions to

reduce the swelling in Plaintiff's left ankle and foot.

23. On or about May 2012, test results on Plaintiff's left ankle and foot revealed
that, Plaintiff had suffered a fractured talus and nerve damage as a result of
Plaintiff's injuries suffered on or about February 24, 2012, at Defendant’s Calwest

Galvanizing.

24. Onor about September 2012, Plaintiff obtained a right-to-sue letter from
the DFEH.

FIRST CAUSE OF ACTION
(Harassment by Defendant's Supervisor Martin)

25. Plaintiff realleges and incorporates by reference Paragraphs 1 through 24 as if
fully set forth in full.

26. At all times mentioned in this complaint, Government Code Section 12940())

were in effect and binding on Defendant.

27. Plaintiff was an employee of Defendant.

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28. Plaintiff was subjected to unwanted verbal and visual harassment because of

Plaintiff's race in violation of Government Code Section 12940()).
29. The harassing conduct was severe or pervasive.

30. That a reasonable African American in Plaintiffs circumstances would have

considered the work environment to be hostile or abusive.
31. The Defendant’s Supervisor Martin engaged in the conduct.

32. As a proximate result of Defendant’s harassment against Plaintiff, as alleged
above, Plaintiff has been harmed in that Plaintiff has suffered humiliation, mental

anguish, and emotional distress, and has been injured in mind and body.

33. As aresult of such harassment and consequent harm, Plaintiff has suffered such

damages in the amount of $300,000.00 or in an amount according to proof.

34. The above recited action of Defendant were done with malice, fraud, or

oppression, and in reckless disregard of Plaintiff's rights under the FEHA.

SECOND CAUSE OF ACTION
(Harassment by Defendant's Supervisor Alba)

35. Plaintiff realleges and incorporates by reference Paragraphs | through 24 as if
fully set forth in full.

36. At all times mentioned in this complaint, Government Code Section 12940(j)

were in effect and binding on Defendant.

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37, Plaintiff was an employee of Defendant.

38. Plaintiff was subjected to unwanted verbal, visual and physical harassment

because of Plaintiff's race in violation of Government Code Section 12940()).
39. The harassing conduct was severe OF pervasive.

AQ. That a reasonable African American in Plaintiff's circumstances would have

considered the work environment to be hostile or abusive.
41. The Defendant’s Supervisor Alba engaged in the conduct.

42. Asa proximate result of Defendant’s harassment against Plaintiff, as alleged
above, Plaintiff has been harmed in that Plaintiff has suffered humiliation, mental

anguish, and emotional distress, and has been injured in mind and body.

43. As aresult of such harassment and consequent harm, Plaintiff has suffered such

damages in the amount of $300,000.00 or in an amount according to proof.

44. The above recited action of Defendant were done with malice, fraud, or

oppression, and in reckless disregard of Plaintiff's rights under the FEHA.

THIRD CAUSE OF ACTION
iscrimimation

45. Plaintiff realleges and incorporates by reference Paragraphs | through 24 as if

fully set forth in full.

46. At all times mentioned in this complaint, Government Code Section 12940(a)

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se 2:12-cv-09254-MMM-MAN Document1 Filed 10/29/12 Page 10o0f16 Page ID #:10
were in effect and binding on Defendant.
47, Defendant was an employer.

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s | 48. Plaintiff was an employee of Defendant.

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71 49. Defendant discharged Plaintiff on November 18, 2011.
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0. Plaintiff's race was a motivating reason for the discharge in violation of
10 | Government Code Section 12940(a).

12 | 51. As aproximate result of Defendant’s discrimination against Plaintiff, as alleged
13 | above, Plaintiff has been harmed in that Plaintiff has suffered humiliation, mental

14 | anguish, and emotional distress, and has been injured in mind and body.

16 | 52. Asaresult of such discrimination and consequent harm, Plaintiff has suffered

17 | such damages in the amount of $300,000.00 or in an amount according to proof.

19 | 53. The above recited action of Defendant were done with malice, fraud, or

20 | oppression, and in reckless disregard of Plaintiff's rights under the FEHA.

22 . FOURTH CAUSE OF ACTION oe
73 (intentional Infliction Of Emotional Distress Based On Threat And Intimidation)
24

25 | 54 Plaintiff hereby realleges and incorporates by reference Paragraphs | through
26 | 24 as if fully set forth in full.

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55. That on or about February 24, 2011, Defendant’s Supervisor Geraldo’s conduct
was extreme and outrages when he intimidated and threatened Plaintiff with discharge
if Plaintiff insisted on requesting seeing a doctor for the injuries sustained when the

approximately 75lbs grate fell on Plaintiff's legs and feet.

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6 | 56. Defendants conduct was done with reckless disregard of the probability of

7 | causing emotional distress.

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9 | 57. Plaintiff sustained severe emotional suffering of having to work through the

10 | severe pain of Plaintiff's left ankle and foot in order to keep the job with Defendant
11 | due to threats and intimidation.

12
13 | 58. As the proximate result of Defendant’s threat and intimidation against

14 | Plaintiff, as alleged above, Plaintiff has suffered emotional distress and additional
15 | injury and trama to Plaintiff's leg and foot.

16
17 | 59. As aresult of such threat, intimidation and consequent harm, Plaintiff has

18 | suffered such damages in the amount of $500,000.00 or in an amount according to
19 | proof.

20
21 | 60. The above recited action of Defendant were done with malice, fraud, or
22 | oppression and in reckless disregard of Plaintiff's rights.

23
24 REQUEST FOR JURY TRIAL
25
26 Plaintiff hereby demands trial of this matter by jury.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for a judgment as follows:

As to all Causes of Action:

1. For general damages in the sum of $1,400,000.00 or according to proof;

2. For punitive damages in an amount appropriate to punish Defendant its wrongful

conduct and to set and example;

3. For interest on the sum awarded, calculating from November 18, 2011 to the

date of judgment;
5. For costs of suit incurred herein; and

6. For such other and further relief the Court deems proper.
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* “UNELED STATES DISTRICT COURT
CENTRAL DISTRICE OF CALIFORNIA
CASE NUMBER

PLAINTIFE(S) C V 1 2. -9 05 4 HANH) (vip)

Roy Lee Fitéce

Vv.

VALMONT I MBUSTIES, /NC.-

DEFENDANT(S). |=

wil

TO:  DEFENDANT(S):

AX lawsuit has been filed against you.

With Al days after service of this summmofis on you (not counting the day you received it), you
must serve on the plamtiff an answer to the attached M complaint 1 amended complaint
C counterclaim O cross-claim or a mofion wader Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plamtiff’s attomey, Key HreLCe _, whose address is
304 _ 4. SHERMAN DE. CARS CA - FO FE ~ Ef you fail to do so,
judgment by default will be entered against you for the relief detnanded im the complaint. You also must file

your answer or motion with the court

para (J - 24- [LL

[Use 60 days ifthe defendant is the United States or a United States agency, or is an officer or emp Toy ee of the United States. Allowed
60 days by Rule 12(a)(3)].

C¥OLA 2/07} SUMMONS
UNITED STATES PATRIGE GouR COUR Page eM i6 Page ID #:14

, Case 2:12-cv-09254-MMM-M

I (aj PLAINTIFFS (Check box ifyou aré representing yoursell SY

Roy Lee reece

fivinsnled L022” Pe

DEFENDANTS

VALMONT (NOMAKIES, NC .

(b) Attorneys (Firm Name, Address and Telepbone Number. ifyou ar represeating | Attorneys (If Known}

yourself, provide same.)

Key FueR ES Seem AN BR

CRIN. CA~ 907 46 (3) 08-7539
‘DL BASIS OF JURISDICTION (Place an X in ove box only.) TH. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
{Place an X in one box for plaintiff and one for defendant)
C11 U8. Government Plaintiff O13 Federal Question (U.S. PIF DEF PIF DEF
Government Not a Party) Citizen of This State Ol O1 incorporated or Principal Place 04 O84
: of Business in this State
O2US. Government Defendant [4 Diversity (Indicate Citizenship | Cittzen of Another State O02 oh Incorporated and Principal Place O15 05
of Parties in Item IE) of Business in Another State:
Citizen or Subject ofa Foreign Country 03 (13 Foreign Nation os o86

EV. ORIGIN (Placean X in one box only.}

1 Original 2 Removed from [13 Rermanded from £14 Reinstated or £15 Transferred from another district (specify): O68 Mul 07 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge fom
Litigation Magistrate fudge

Y. REQUESTED IN COMPLAINT: JURY DEMAND: wy Yes [No (Cheek 'Yes' only if demanded in complaint }
CLASS ACTION under FRLCP. 23: (1 Yes who nA{ONEY DEMANDED IN COMPLAINT: s g /, Yo, 200.00

YI CAUSE OF ACTION (Cite the U_S. Civil Statute mder which you are Bling and write a brief statement of cause. Do not aM urisdictional statutes unless divers

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VIL NATURE OF SUIT (lace an X in one box only.}

 DETRES

3 State “Reapportionment © i EL iT Labor Standards
Antitrust 120 Marine . : (1510 Motions to Act
Banks and Banking 130 Miller Act 315 Airplane Product (1) 370 Other Fraud Vacate Sentence [1720 Labor/Mpmt
Commeree/ICC 01140 Negotiable Instrument Liability O37! Troth in Lending Habeas Corpus Relations
Rates/etc, [1150 Recovery of 11320 Assault Libel & [380 Other Personal [01530 General O70 LaborMemt.
[1 460 Deportation Overpayment & ti330 See lovers Property Damage |[1535 Death Penalty Reporting &
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{1850 Securitics/Commodities/|C] 153 Recovery of Product Eiabili __U
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(7875 Customer Challenge 12 Veteran's Benefits Injury of Dmg 11830 Patent
USC 3410 11160 Stockholders’ Suits (1362 Personal Injury 442 Employment 0625 Drug Related
0890 Other Statutory Actions [190 Other Contract Med Malpractice [U1 443 Housing/Acco- Seizure of 7 SOCLATS SECURITY.
0891 Agricultural Act 19195 Contract Prmduct (2365 Personal Injuzy- mmodations Property 2] USC 10 861 HIA. (13956) ‘
0892 Economic Stabilization Liability Product Liability [3444 Welfare 881 862 Black Lung (923)
Act Asbestos Personal [1445 American with (C1630 Liquorlaws (11.863 DIWC/DIWW
0893 Environmental Matters : Injury Product Disabilities - 0640 RR & Truck (405€2))
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0895 Freedom of Info. Act 10220 Foreclosure IN Amencan Wi coupational |] 865_RST (405(2)) _
1900 Appeal of Fee Determi- 11230 Rent Lease & Hjectment lc a4 462 Naturalization Disabilities - Safety ‘Health S Tess
vation Under Equat (1249 Torts to Land Application Other 1690 Other £1870 Taxes (US. Plaintiff
Access to Justice (1245 Tort Product Liability {C1463 HabeasCorpus- [7.440 Other Civil or Defendant}
19950 Constitutionality of 9.290 All Other Real Property | Alien Detain: Rights £1871 IRS-Third Party 26
State Statutes A465 Oe wmoigation USC 7609

OR OFFICE USE ONLY:
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

Case Number.

CVI2-9 254

W-7E (05/08)

CIVIL COVER SHEET

Page 1 of 2
* Case 2:12-cv-U8254-VININEMANT Doh eatae shdtec LOSSES” SABEIENEE 16 Page ID #:15

VHifa). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? hte O Yes
if yes, list case numober(s):

VIII). RELATED CASES: Have any cases been previously fled in this court that are related to the prescat case? whi O Yes
If yes, list case number(s): -

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (A. Arise from the same or closely related fransactions, happenings, or events: or
. OB. Call for determination of the same or substantially related or similar questions of Jaw aud fact or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above ina, b orc also is present

TX VENUE: (When completing the following infonmatioa, nse an additional sheet ifnecessary.)

(a) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides
0 Check here if the government, its agencies or employees is a narned plaintif€ If this box is checked, go to item (6), :
County in this District* Califomia County outside of this District State, if other than California: or Fi oreign Country

Lt& ANGELES

{b) List the County in this District, California County outside of this District, State if other than Califomiac or Forcien County, in which EACH named defendant resides.
C]___Check here if the goverment, its agencies or employecs is a named defendant. If this box is checked, go to item (c}.
California County outside of this District; State, if other than California: or Forcign Country

OMAKNE, NEBRASKA

{c) List the County im this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condernnation cases, use the location of the tract of Jand involved.
California County outside of this District; State, if other than Califomia; or Foreign Country

County ta this District;*

County in this District *

18 KNGEEAZES

* Los Angeles, Orange, Sau Bernardino, Riverside, Ventura, Sant{{Ba
Note: fn Jand condecmnation cases, use the location of the tract of land’ 0

eae San Luis Obispo Connties

*%. SIGNATURE OF ATTORNEY (OR PRO PER):

YS me 10/29/72.

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Notice fo Counsel/Parties: ~The CV-71 (S44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filmg and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, isrequived pursuant to Local Rule 3-] isnot Aled
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instmactions, see separate instructions sheet)

Key to Statistical codes relating to Social Security Cases:
Nature of SuitCode  Abbrevistion Substantive Statement of Cause of Action

R46] HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, 25 amended.
Also, include claims by hospitals, skilled nursing facilities, etc, for certification as providers of services uader the

program, {42 U.S.C, 1935FF(b))
Alf claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coat Mine Health and Safety Act of 1969.

862 BL
G0 ULS.C. 925) .

863 DIwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, 2s
amcoded; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(e))

863 . DrIww All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
“Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (gh

CIVIL COVER SHEET Page 2 of 2

W-71 (05/08)

Case 2:12-cv-09254-MMM-MAN Document1 Filed 10/29/12 Page 16 of16 Page ID #:16

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Margaret M. Morrow and the assigned
discovery Magistrate Judge is Margaret A. Nagle.

The case number on ali documents filed with the Court should read as follows:

CV12- 9254 MMM (MANx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related

motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ail defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division LJ Southern Division LJ Eastern Division
312 N. Spring St, Rm. G-8 411 West Fourth St., Rim. 1-053 3470 Twelfth St., Am. 134
os Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA $2501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/08) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
